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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA
                    Before the Honorable WILLIAM B. SHUBB, JUDGE

                    CRIMINAL MINUTES - EVIDENTIARY HEARING

 UNITED STATES OF AMERICA,                      Time in Court: 2:38
 Plaintiff
                                                CASE #: CR 16-145 WBS
 v.                                             DATE: March 18, 2019
                                                Courtroom Deputy: Karen Kirksey Smith
 STEPHEN DOUGAN                                 Court Reporter: Kimberly Bennett
 Defendant.

 Appearance(s) for Government:                Appearance(s) for Defendant(s):

 Michael Beckwith, AUSA                        1. Stephen Dougan (Present/Out of Custody)
 Chi Soo Kim, AUSA                                Counsel: Patrick Hanly, Retained
 Matthew Segal, AUSA

Proceedings:       Evidentiary Hearing Re Defendant’s Motion to Dismiss (DAY 1)

 9:00 a.m.     Hearing commences. Court confers with counsel. Tom Johnson makes an
               appearance on behalf of witnesses Robin Klomparens and Doulas Youmans
               and confers with the court re subpoenaed documents.
 9:05 a.m .    Court orders witness excluded.
 9:07 a.m.     Witness Douglas Youmans called and sworn to testify by Defendant.
 9:42 a.m.     Witness on cross-examination by Government. [Exhibits Identified and/or
               Admitted: 403, 340, 1210, 490-02, 490-03, 340-02, 340-03, .]
 10:30 a.m. Court recessed.
 10:47 a.m. Hearing resumes. Witness resumes on cross-examination. [Exhibits Identified
               and/or admitted: 1200, 1209, 1210, 1225, 1233.]
 10:50 a.m. Witness on redirect by Defendant. Witness excused.
 10: 52 a.m. Witness Robin Klomparens called and sworn to testify by Government.
               [Exhibits Identified and/or admitted: 1204, 1205, 1216, 1226, 1219, 1213,
               1214, 1215, 1221, 1225, 1210, 490-03, 1208, 1207.] Witness excused.
 11:54 a.m. Court ORDERS matter TAKEN UNDER SUBMISSION and shall prepare
               and issue a separate order.
 11:55 a.m. Matter adjourned.
Other:      Receipt for Exhibit form signed by government counsel for return of exhibits. Filed
            Exhibit and Witness Lists.
